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 4
     Attorney for BRANDON McMURRIAN
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,    ) No. CR-S-12-442 LKK
 8
                     Plaintiff,       )
 9                                    ) STIPULATION AND
           v.                         ) ORDER TO CONTINUE STATUS
10                                    ) CONFERENCE
     BRANDON McMURRIAN,               )
11
     JOEL MURDOCH, et al,             ) Date: 11-13-13
12
                      Defendants.     ) Time: 9:15 a.m.
     ================================) Judge: Hon. Lawrence K. Karlton
13
            It is hereby stipulated between the parties, Samuel Wong, Assistant United States Attorney,
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15
     Michael D. Long, attorney for defendant Brandon McMurrian, and Donald Dorfman, attorney for

16   defendant Joel Murdoch that the status conference date of September 10, 2013, should be continued
17   until November 13, 2013. The continuance is necessary because additional discovery will be
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     provided by the government and negotiations are continuing between the government and defense
19
     counsel. Additionally, co-defendants Ayler and Lane were arraigned this week and they set a status
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     hearing for November 13, 2013. All four co-defendants should have the same status conference
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22   date. Defendants McMurrian, Murdoch and AUSA Samuel Wong jointly agree that time should

23   continue to be excluded until November 13, 2013. Each party further stipulates that the ends of
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     justice served by granting such continuance outweigh the best interests of the public and of all the
25
     defendants in a speedy trial. Each party would like time to be excluded as provided by Local Code
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     T4 from today’s date through November 13, 2013.
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 1          IT IS STIPULATED that the period of time from the signing of this Order up to and
 2
     including the new court date of November 13, 2013, be excluded in computing the time within
 3
     which trial must commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7) and
 4
     Local Code T4, for ongoing preparation of counsel.
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 7   Dated: September 5, 2013                             Respectfully submitted,
 8
                                                          /s/ Michael D. Long__________
 9                                                        MICHAEL D. LONG
                                                          Attorney for Brandon McMurrian
10
     Dated: September 5, 2013                             Respectfully submitted,
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12                                                        /s/ Donald Dorfman__________
                                                          Donald Dorfman
13                                                        Attorney for Joel Murdoch
14
     Dated: September 5, 2013                             BENJAMIN WAGNER
15                                                        United States Attorney

16                                                        /s/ Samuel Wong________
17                                                        SAMUEL WONG
                                                          Assistant U.S. Attorney
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                             IN THE UNITED STATES DISTRICT COURT
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     THE UNITED STATES OF AMERICA,    ) No. CR-S-12-442 LKK
 7                   Plaintiff,       )
                                      ) ORDER
 8
           v.                         )
 9                                    )
     BRANDON McMURRIAN,               )
10   JOEL MURDOCH, et al,             ) Date: 11-13-13
                      Defendants.     ) Time: 9:15 a.m.
11
     ================================) Judge: Hon. Lawrence K. Karlton
12
            UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
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     status conference presently set for September 10, 2013, at 9:15 a.m. be continued to November 13,
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     2013, at 9:15 a.m. Based on the representations of counsel and good cause appearing therefrom, the
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     Court hereby finds that the failure to grant a continuance in this case, based on the parties still
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     negotiating the terms of a proposed plea agreement, would deny defense counsel reasonable time
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     necessary for effective preparation, taking into account due diligence. The court finds that the
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     reasons for granting this continuance outweigh the best interests of the public and the defendants to
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     a speedy trial. It is ordered that time from this date to November 13, 2013, shall continue to be
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     excluded from computation of the time within which the trial of this matter must be commenced
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     under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7) and Local Code T4, to allow counsel
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     time to prepare and to complete negotiations.
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     Dated: September 6, 2013

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